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IN THE UNITED STATES DISTRICT COURT
DISTRICT OF COLUMBIA

BYRON BREEZE, JR.,

Plaintiff,

)
)
)
)
Vv. ) Civil Action No.: 1:20-cv-2844 TNM
)

HENLEY PARK HOTEL, INC., )

)

Defendant. )

MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEFENDANT’S
MOTION TO DISMISS

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COMES NOW Defendant, Henley Park Hotel, Inc., by counsel, and in and for its
Memorandum of Points and Authorities in Support of its Motion to Dismiss, filed pursuant to Fed.
R. Civ. P. 12(b) states as follows:

I. Introduction

This action arises from alleged violations of 42 U.S.C. § 12181 et seq, 28 C.F.R. §
36.302(e)(1), and the District of Columbia Human Rights Act (““SDCHRA”). Plaintiff's causes of
action and request for injunctive relief arise from a visit to the Defendant’s website at some
unknown point prior to filing the instant suit.

Plaintiff has a qualified disability and uses a wheelchair for mobility. ECF #, ¢ 7. Plaintiff,
a resident of the District of Columbia, states that he has “a real and continuing need for mandated
accessibility information within online hotel reservation platforms in this District.” ECF #, ] 8.
Plaintiff states that “[p]rior to filing this lawsuit, Plaintiff visited the Website to learn about
accessible features of the Hotel, and to independently assess whether the Hotel is accessible to
him, and whether he could independently reserve an accessible room at the Hotel, in the same
manner as those seeking to reserve non-accessible rooms.” ECF #, { 20. On some unknown date,
while visiting the Defendant’s website, the Plaintiff “discovered that the website does not provide
the accessibility information that he requires and does not allow for reservation of accessible
guestrooms.” ECF-1, § 20. Plaintiff alleges that the Website violates 28 C.F.R. Part 36, because
“It]here is no ability to book an accessible room at any point prior to payment, and there is no filter
on the search page with options for accessible rooms or features.” ECF-1, § 21. Plaintiff also
alleges that the Website lacks accessibility information for the common areas and amenities of the
Defendant’s hotel. See ECF-1, 922. Plaintiff states that he brings this action to remediate all

violations of 28 C.F.R. § 36, but does not state what these alleged violations are. ECF-1, ¥ 23.

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Absent from the Plaintiff's Complaint are any facts detailing when he visited the website, whether
he has actually visited the Defendant’s premises, and whether he tried to, and was unable to, book
a handicap accessible room. Plaintiff also appears to lack any intent to visit the premises in the
near future, stating “Plaintiff will visit the Website again, upon the Defendant’s compliance with
the laws and regulations specified herein, in order learn about the accessible (and inaccessible)
features,...and determine whether he can reserve an accessible guestroom.” ECF-1, ¥ 25.
Plaintiffs Complaint must be dismissed because Plaintiff's Complaint fails to sufficiently
establish this Court’s subject-matter jurisdiction over this case, because Plaintiffs allegations do
not amount to an injury, in-fact. Further, Plaintiff’s allegations establish a real and imminent
danger of future harm. Finally, Plaintiff's Complaint fails to state a claim under 42 U.S.C. § 12181
et seq, 28 C.F.R. Part 36, or the DCHRA for which relief can be granted as his allegations are
vague and conclusory and unsupported by any facts. Therefore, Plaintiff's Complaint must be
dismissed with prejudice.

IL. Legal Standard

a. Lack of Standing

Plaintiff bears the burden of establishing that this Court has subject matter jurisdiction over
his claim. Jefferson v. Stinson Morrison Heckler, LLP, 249 F. Supp. 3d 76, 79 (D.D.C. 2017)(citing
Lujan v. Defs. Of Wildlife, 504 U.S. 555, 561 (1992). Further, ““‘the [p]laintiff’s factual allegations
in the complaint...will bear closer scrutiny in resolving a 12(b)(1) motion’ than in resolving a
12(b)(6)motion for failure to state a claim.” 249 F. Supp. 3d at 79 (quoting Grand Lodge of the
Fraternal Order of Police v. Ashcroft, 185 F. Supp. 2d 9, 13-14 (D.D.C. 2001)).

Article III of the Constitution limits this Court’s adjudicatory power to “actual cases or

controversies.” Jefferson, 249 F. Supp. 3d at 80. “To establish standing, the plaintiff must show:

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(1) that he has suffered an injury in fact, defined as the invasion of a legally protected interest that
is both (a) concrete and particularized, and (b) actual or imminent, not conjectural or hypothetical;
(2) that a causal connection exists between the injury and the conduct at issue, such that the injury
is fairly traceable to the challenged conduct, and (3) that it is likely, not merely speculative, that
the injury will be redressed by a decision in favor of the plaintiff.” Jefferson v. Stinson Morrison
Heckler, LLP, 249 F. Supp. 3d 76, 80 (D.D.C. 2017) (citing Lujan v. Defs. Of Wildlife, 504 U.S.
555, 560 (1992). When faced with a motion to dismiss under Fed. R. Civ. P. 12(b)(1), “the plaintiff
must ‘clearly... allege facts demonstrating’ each element.” Spokeo, Inc. v. Robins, 136 S. Ct. 1540,
1547 (2016)(quoting Warth v. Sedlin, 422 U.S. 490, 518 (1975)).
b. Failure to State a Claim Upon Which Relief Can Be Granted

A Complaint must contain “a short and plain statement of the claim showing that the
pleader is entitled to relief, in order to give the defendant fair notice of what the . . . claim is and
the grounds upon which it rests[.]’” Bell Atl Corp. v. Twombly, 550 U.S. 544, 555 (2007).
Although “detailed factual allegations” are not required to withstand a Rule 12(b)(6) motion, “a
plaintiff's obligation to provide the ‘grounds’ of his ‘entitle[ment] to relief requires more than
labels and conclusions, and a formulaic recitation of the elements of a cause of action will not do.
Twombly, 550 U.S. at 555. Specifically, “[f]actual allegations must be enough to raise a right to
relief above the speculative level.” See id. (quoting 5 C. Wright & A. Miller, Federal Practice and
Procedure § 1216, pp 235-236 (3d ed. 2004) (stating that "[T]he pleading must contain something
more... than... a statement of facts that merely creates a suspicion [of] a legally cognizable right
of action"). Further, ‘‘a court need not accept a plaintiff's /egal conclusions as true, [], nor must a
court presume the veracity of the legal conclusions that are couched as factual allegations.” Umude

v. Am. Sec. Programs, Inc.,107 F. Supp. 3d 52, 54 (D.D.C. 2015).

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Il. Argument
a. Plaintiff Has Failed to Establish This Court’s Subject Matter Jurisdiction

Plaintiff does not have standing to bring this action. The Plaintiff, a resident of the District
of Columbia, states that he has “a real and continuing need for mandated accessibility information
within online hotel reservations platforms in this District.” ECF #4 8. Plaintiff's Complaint does
not identify the date which he visited the Defendant’s website, nor does he identify any intent to
actually visit the hotel. Plaintiff's Complaint states: “Prior to filing this lawsuit, Plaintiff visited
the Website to learn about accessible features of the Hotel, and to independently assess whether
the hotel is accessible to him, and whether he could independently reserve an accessible room at
the Hotel...” ECF-1 § 20. Plaintiff alleges that “Upon his visit to the Website, Plaintiff discovered
that the Website does not provide the accessibility information that he requests and does not allow
for reservation of accessible guestrooms.” ECF # 4 20. Plaintiff also states he “will visit the
Website again, upon the Defendant’s compliance with the laws and regulations specified herein,
in order learn about the accessible (and inaccessible) features...and determine whether he can
reserve an accessible guestroom.” ECF # 4 25. Plaintiff identifies no upcoming need for hotel
accommodations or any event being held at the Defendant’s property, which he would like to, but
is unable to attend, in support of his claim.

Plaintiff must do more than make bare allegations of an ADA violation to have standing to
bring his suit. “To establish standing, the plaintiff must show: (1) that he has suffered an injury in
fact, defined as the invasion of a legally protected interest that is both (a) concrete and
particularized, and (b) actual or imminent, not conjectural or hypothetical; (2) that a causal
connection exists between the injury and the conduct at issue, such that the injury is fairly traceable

to the challenged conduct, and (3) that it is likely, not merely speculative, that the injury will be

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redressed by a decision in favor of the plaintiff.” Jefferson v. Stinson Morrison Heckler, LLP, 249
F. Supp. 3d 76, 80 (D.D.C. 2017) (citing Lujan v. Defs. Of Wildlife, 504 U.S. 555, 560 (1992).

Further, where the action requests injunctive or declaratory relief, “a demonstration of
imminent, future injury is required to demonstrate standing.” Holt v. Am. City Diner, Inc., 2007
U.S. Dist. LEXIS 35284, *14 (2007). It is not enough that the plaintiff complains of past illegal
conduct; “in a claim for injunctive relief, a plaintiff ‘must allege a likelihood of future violations
of [his] rights...., not simply future effects from past violations.’” Holt, 2007 U.S. Dist. LEXIS
35284, *15 (quoting Fair Employment Council of Greater Wash., Inc. v. BMC Marketing Corp.,
307 U.S. App. D.C. 401 (D.C. Cir. 1994)). Thus, a plaintiff seeking injunctive relief only has
standing “if the party alleges, and ultimately proves, a real and immediate-as opposed to merely
conjectural or hypothetical—threat of future injury.” Jd (quoting Natural Resources Defense
Counsel v. Pena, 331 U.S. App. D.C. 198 (D.C. Cir. 1998)).

In Holt v. American City Diner, Inc., the plaintiff brought suit against the defendant,
alleging violations of ADA and 28 C.F.R. § 36.302 following his visit to the defendant’s restaurant.
Id. at *6. There, plaintiff alleged that he wanted to and intended to visit the defendant’s restaurant
in the future, but continued to be denied full access due to the alleged violations. /d. at *8.
Plaintiffs complaint also stated that “he intend[ed] to go back to the restaurant once these barriers
are removed.” /d. Analyzing the plaintiffs claim that he intended to return to the restaurant in the
future, this Court found that plaintiff's “abstract statement that he desires to do so at some
unspecified point in the future” was insufficient to establish the imminent future injury required
for standing. /d. at *17. Unlike the plaintiff in Holt, who attempted to eat at the defendant’s
restaurant but found it to be inaccessible, this Plaintiff has not actually attempted to book a room

and learned that it was not handicap accessible after booking. Plaintiff has plead no facts to

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establish that he has visited or tried to visit the Defendant’s premises for an overnight stay or event,
and was unable to. This Plaintiff has not experienced an actionable injury sufficient to satisfy the
standing requirements for subject-matter jurisdiction.

“TA] plaintiffs intention to return to [a] defendant’s place of public accommodation ‘some
day... without any description of concrete plans, or indeed even any specification of when the some
day will be—do not support a finding of the requisite actual of imminent injury’ sufficient to entitle
the plaintiff to injunctive relief.” Jefferson, 249 F. Supp. 3d at 81 (quoting Anderson v. Macy's
Inc., 943 F. Supp. 2d 531, 540 (W.D. Pa. 2013)(internal citation omitted)). In Jefferson v. Stinson
Morrison Heckler, LLP, plaintiff brought a suit against the defendant for violating the ADA when
it failed to provide him with a computer or tablet to assist in his deposition in another, unrelated
case, where the defendant represented the party deposing the plaintiff. 249 F. Supp. 3d at 78. In
support of his action against the defendant, plaintiff argued that he could face future injury at the
hands of the defendant should he be required to appear at a deposition at the defendant’s office.
Id. at 81. This Court found that the plaintiff's argument that he had previously been discriminated
against at the defendant’s office, and could be discriminated against at some point in the future
should the defendant seek to take his deposition, was insufficient to establish that the plaintiff was
in danger of a real and imminent future injury. See id. Plaintiff has no plans to visit the Defendant’s
premises in the near future, stating that he intends to revisit the Defendant’s website “upon
Defendant’s compliance with the laws and regulations” set forth in his Complaint. See ECF-1, 7
25. Plaintiff's potential visit, assuming the Defendant is found to be in violation, and required to

make corrections, is too remote.

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Plaintiff has suffered no injury in-fact and there are no allegations that establish an
immediate risk of future harm to the Plaintiff. Thus, Plaintiff's Complaint should be dismissed as
he has not established this Court has subject matter jurisdiction over his claims.

b. Plaintiff Has Failed to Allege Any Facts to Support a Claim Against the
Defendant
i. Plaintiff's Complaint Fails to State a Claim under 42 U.S.C. 12181 et
seq. or 28 CFR. § 36.302(e)(1)

Plaintiff's Complaint alleges that on some unspecified date before filing this lawsuit, he
visited the Defendant’s site to learn about the features of the Defendant’s hotel and to ascertain
whether he could reserve an accessible room. ECF-1, § 20. He alleges that “[t]here is no ability to
book an accessible room at any point prior to payment...” ECF-1, § 21. Plaintiff further states that
he brings this action “to remediate all violations of the ADAAG found to exist upon the Website,
and upon all online reservation platforms used by the Hotel.” ECF-1, { 23. Plaintiff has plead no
facts to establish that he visited any third party platforms used by the Defendant and found them
to be in violation of the 28 C.F.R. Part 36.

Although “detailed factual allegations” are not required to withstand a Rule 12(b)(6)
motion, “a plaintiffs obligation to provide the ‘grounds’ of his ‘entitle[ment] to relief requires
more than labels and conclusions, and a formulaic recitation of the elements of a cause of action
will not do. Twombly, 550 U.S. at 555. Specifically, “[flactual allegations must be enough to raise
a right to relief above the speculative level.” See id. (quoting 5S C. Wright & A. Miller, Federal
Practice and Procedure § 1216, pp 235-236 (3d ed. 2004) (stating that "[T]he pleading must contain
something more... than. . . a statement of facts that merely creates a suspicion [of] a legally

cognizable right of action").

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Plaintiff bases his claim on the 28 C.F.R. § 36.302(e)(1), which states:

Reservations made by places of lodging. A public accommodation that owns, leases
(or leases to), or operates a place of lodging shall, with respect to reservations made
by any means, including by telephone, in-person, or through a third party—

(1) Modify its policies, practices, or procedures to ensure that individuals
with disabilities can make reservations for accessible guest rooms during the same
hours and in the same manner as individuals who do not need accessible rooms;

(ii) Identify and describe accessible features in the hotels and guest rooms
offered through its reservations service in enough detail to reasonably permit
individuals with disabilities to assess independently whether a given hotel or guest
room meets his or her accessibility needs;

(11) Ensure that accessible guest rooms are held for use by individuals with
disabilities until all other guest rooms of that type have been rented and the
accessible room requested is the only remaining room of that type;

(iv) Reserve, upon request, accessible guest rooms or specific types of guest
rooms and ensure that the guest rooms requested are blocked and removed from all
reservations systems; and

(v) Guarantee that the specific accessible guest room reserved through its
reservations service is held for the reserving customer, regardless of whether a
specific room is held in response to reservations made by others.

In support of his claim that the Defendant’s website violates these requirements, Plaintiff
states “[a] page entitled accommodations lists available room types, but does not include any
description of what accessibility features the rooms have. When reservations is selected, dates are
entered, and available rooms are populated, never including any accessible room types....There is
no ability to book an accessible room at any point prior to payment, and there is no filter on the
search page with options for accessible rooms or features.” ECF-1, § 21. Absent from Plaintiff’s
Complaint are any allegations that he was unable to reserve an accessible room. See 28 C.F.R.
36.302(e)(1)(iii). Plaintiff’s Complaint also fails to include any factual allegation that he was not
guaranteed an accessible room was held for his use as required by 28 C.F.R. § 36.302(e)(1)(v).
Finally, absent from the Plaintiff’s Complaint is any allegation that supports an inference that the
hotel does not ensure that accessible rooms are held for disabled individuals as required by 28

C.F.R. § 36.302(e)(1)(iii). Plaintiff lack of factual support is highlighted by his request that the

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Court permit discovery to determine whether the Defendant is able to effectively meet
requirements (i), (ii), and (i11) of 28 C.F.R. § 36.302(e)(1). See ECF-1, J 24.

Plaintiff's Complaint lacks sufficient supporting facts to raise his purported right to relief
above a speculative level. His Complaint is nothing more than “labels and conclusions,” not even
grounded by a clear statement of when the alleged violation occurred. This Court cannot
reasonable infer that any violation or actionable injury has occurred that would be remedied by
injunctive relief. Therefore, Plaintiffs Complaint must be dismissed with prejudice.

ii. Plaintiff's Complaint Fails to State a Claim under the District of
Columbia Human Rights Act

The District of Columbia Human Rights Act states that “{i]t shall be unlawful
discriminatory practice to do any of the following acts, wholly or partially for a discriminatory
reason based on the actual or perceived: race, color, religion, national origin,...disability...to deny
directly or indirectly, any person the full and equal enjoyment of the goods, services, facilities,
privileges, advantages, and accommodations of any place of public accommodations....” D.C.
Code § 2-1402.31. D.C. Code § 2-1402.02 defines “place of public accommodation” as:

all places included in the meaning of such terms as inns, taverns, road houses,
hotels, motels, whether conducted for the entertainment of transient guests or for
the accommodation of those seeking health, recreation or rest; restaurants or eating
houses, or any place where food is sold for consumption on the premises; buffets,
saloons, barrooms, or any store, park or enclosure where spirituous or malt liquors
are sold; ice cream parlors, confectioneries, soda fountains and all stores where ice
cream, ice and fruit preparation or their derivatives, or where beverages of any kind
are retailed for consumption on the premises; wholesale and retail stores, and
establishments dealing with goods or services of any kind, including, but not
limited to, the credit facilities thereof; banks, savings and loan associations,
establishments of mortgage bankers and brokers, all other financial institutions, and
credit information bureaus; insurance companies and establishments of insurance
policy brokers; dispensaries, clinics, hospitals, bath-houses, swimming pools,
laundries and all other cleaning establishments; barber shops, beauty parlors,
theaters, motion picture houses, airdromes, roof gardens, music halls, race courses,
skating rinks, amusement and recreation parks, trailer camps, resort camps, fairs,

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bowling alleys, golf courses, gymnasiums, shooting galleries, billiards and pool

parlors; garages, all public conveyances operated on land or water or in the air, as

well as the stations and terminals thereof; travel or tour advisory services, agencies

or bureaus; public halls and public elevators of buildings and structures, occupied

by 2 or more tenants, or by the owner and 1 or more tenants....

[T]he DCHRA applies only to those categories of cases specifically enumerated in the
statute.” Samuels v. Rayford, 1995 U.S. Dist. LEXIS 21798, *13 (D.D.C. 1995). To prevail on a
DCHRA claim, the plaintiff “must demonstrate that the discriminatory actions which she
complains occurred either ‘in employment, ‘in places of public accommodation, resort or
amusement,’...or ‘in housing and commercial space accommodations.’” Samuels, 1995 U.S. Dist.
LEXIS 21798, *13. A website is not a “place of public accommodation,” and “[a]s the D.C. Court
of Appeals has made clear, the alleged place of public accommodation must be a physical
location.” Freedom Watch, Inc. v. Google, Inc., 368 F. Supp. 3d 30, 39 (D.D.C. 2019).

In Freedom Watch, Inc. v. Google, Inc., plaintiff brought an action under the DCHRA
alleging that the defendants, online social media platforms, were engaged in a conspiracy to stifle
conservative content on the internet. See 368 F. Supp. 3d at 38. There, this Court found that the
defendant’s online services were not places of public accommodation under the DCHRA. This
Court noted that the DCHRA contained “over 50 specific examples of ‘places of public
accommodation.’ Not one of these examples is an online or virtual platform.” Jd. at 39. Plaintiff
argues that the Website is “a gateway to, and a part of, the Hotel....” ECF-1, 4 33. But Freedom
Watch makes it clear that a website is not “a place of public accommodation” under the DCHRA.

Further, as discussed above, the plaintiff must establish that the Defendant engaged in
discriminatory actions in its “place of public accommodation.” 1995 U.S. Dist. LESXIS 21798 at

* 13. Plaintiff has not established that he requested, and was denied, an accessible hotel room on

the Defendant’s website or on the Defendant’s premises because of his disability.

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iti. Plaintiff's Negligence Per Se Allegations Fail
Plaintiff's Complaint fails to state a claim of negligence per se, nor can the Defendant’s

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alleged violations be “construed as ‘negligence per se.’” To assert a claim of negligence per se, “
a claimant must show (1) that there is a ‘particular statutory or regulatory standard [which was’
enacted to protect persons in the plaintiff's position or to prevent the type of accident that
occurred,’ and (2) ‘the plaintiff can establish his relationship to the statute.’” Lin v. District of
Columbia, 2019 U.S. Dist. LEXIS 64056, *18 (D.D.C 2019)(quoting Ceco Corp v. Coleman, 441
A.2d 940, 945 (D.C. 1982)). To satisfy the first requirement, “the statute or regulation relied on
must promote public safety.” 2019 U.S. Dist. LEXIS 64056, *18. The DCHRA is a statute enacted
to prevent discrimination, not to prevent physical harm. See Hunter v. Dist. of Columbia, 64 F.
Supp. 3d 158, 189 (D.D.C. 2014).

In Hunter v. District of Columbia, this Court held that the DCHRA cannot serve as the
basis of a negligence per se claim. Jd. at 189. This Court noted that “multiple courts have found
that the ADA is not a public safety statute for purposes of the negligence per se doctrine.” Jd. at
189 (internal citations omitted). “[W]hile protection from injury for the disabled is no doubt a
fortunate by-product of the ADA, it is clear that the statute was not designed with that purpose in
mind].]” Jd. (quoting White v. NCL Am., Inc., 2006 U.S. Dist. LEXIS 24756, *5 (S.D. Fla., Mar.
8, 2006)).

Plaintiff argues that “[t]he failure by the Defendant to act to identify and remove these
barriers, which have been illegal since March 15, 2012, can be construed as ‘negligence per se.’”
ECF-1, § 34. As argued by the defendant in Hunter, the “gravamen of the Plaintiff[‘s] claim is

discrimination.” Jd. The DCHRA’s purpose is to combat discrimination and not prevent physical

injuries to the public, and therefore any violation by the Defendant cannot be “construed as

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negligence per se.”” As the DCHRA is not a public safety statute, the Plaintiff's Complaint alleging

negligence per se should be dismissed.
iv. Plaintiff's DCHRA claim may be barred by the Statute of Limitations

Plaintiffs Complaint lacks sufficient information for the Defendant to ascertain whether it
is time barred by the applicable statute of limitations. D.C. Code § 2-1403.16 states:

Any person claiming to be aggrieved by an unlawful discriminatory practice shall

have a cause of action in any court of competent jurisdiction for damages and such

other remedies as may be appropriate, unless such person has filed a complaint

hereunder; provided, that where the Office has dismissed such complaint on the

grounds of administrative convenience, or where the complainant has withdrawn a

complaint, such person shall maintain all rights to bring suit as if no complaint had

been filed. No person who maintains, in a court of competent jurisdiction, any

action based upon an act which would be an unlawful discriminatory practice under

this chapter may file the same complaint with the Office. A private cause of action

pursuant to this chapter shall be filed in a court of competent jurisdiction within

one year of the unlawful discriminatory act, or the discovery thereof, except that

the limitation shall be within 2 years of the unlawful discriminatory act, or the

discovery thereof, for complaints of unlawful discrimination in real estate

transactions brought pursuant to this chapter or the FHA....

Plaintiff's Complaint states that he visited the Defendant’s website “prior to filing this
Complaint” but does not state the date which he visited the website. This Court, nor this Defendant
have any way to know when the Plaintiff accessed the Defendant’s Website. He could have
accessed it a week before the lawsuit, two months before the lawsuit, or even eight years before
this lawsuit. Thus, the Defendant is unable to ascertain whether the Plaintiff is even able to bring
a claim alleging a violation of the DCHRA. Plaintiff's DCHRA claim should be dismissed.

As the Plaintiffs Complaint fails to allege any facts which establish: that he was denied an
accessible room on the Defendant’s premises; that the DCHRA is a public safety statute; or when

he visited the Defendant’s website, Count II of the Plaintiff's Complaint should be dismissed with

prejudice.

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IV.

Conclusion

Wherefore, for the foregoing reasons set forth herein and those made in oral argument,

Defendant, Henley Park Hotel, Inc., by counsel, respectfully requests that this Court grant its

Motion to Dismiss pursuant to Fed. R. Civ. P. 12(b)(1) or, in the alternative, 12(b)(6), with

prejudice.

/s/ John D. McGavin
John D. McGavin, DCB 475899

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CERTIFICATE OF SERVICE

I hereby certify that, on the 12th day of November, 2020, I caused a true copy of the
foregoing to be served by efiling and first class mail, on:

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